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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
              v.                            )       CR. No. 3:19-cr-364-ECM
                                            )
NAYEF AMJAD QASHOU                          )


     GOVERNMENT’S RESPONSE TO DEFENDANT’S SENTENCING MEMORANDUM

       COMES NOW the United States of America, by and through Louis V. Franklin, Sr., United

States Attorney for the Middle District of Alabama, and in response to Defendant’s Sentencing

Memorandum filed June 23, 2020, offers the following:

1.     In accordance with the government’s Sentencing Memorandum, and due to the unique

circumstances of the case at bar, the government agrees with the defendant’s arguments and

requests that this Honorable Court accept, and sentence in accordance with, the plea agreement.

       Respectfully submitted, this the 25th day of June, 2020.

                                                    LOUIS V. FRANKLIN, SR.
                                                    UNITED STATES ATTORNEY


                                                    /s/ Robert K. Nichols, III______
                                                    ROBERT K. NICHOLS, III
                                                    Assistant United States Attorney
                                                    131 Clayton Street
                                                    Montgomery, Alabama 36104
                                                    Tel: (334) 223-7280
                                                    Email: Robert.Nichols2@usdoj.gov
      Case 3:19-cr-00364-ECM-WC Document 49 Filed 06/25/20 Page 2 of 2




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UNITED STATES OF AMERICA                     )
                                             )
              v.                             )      CR. No. 3:19-cr-364-ECM
                                             )
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                                 CERTIFICATE OF SERVICE

       I, Robert K. Nichols, III, Assistant United States Attorney, hereby certify that on this

25th day of June, 2020, I electronically filed the foregoing with the Clerk of the Court using the

CM/ECF system, which will automatically serve a copy upon all counsel of record, including

counsel for Defendant.

                                                    Respectfully submitted,


                                                    /s/ Robert K. Nichols, III______
                                                    ROBERT K. NICHOLS, III
                                                    Assistant United States Attorney
                                                    131 Clayton Street
                                                    Montgomery, Alabama 36104
                                                    Tel: (334) 223-7280
                                                    Email: Robert.Nichols2@usdoj.gov
